          Case 20-33233 Document 119 Filed in TXSB on 06/29/20 Page 1 of 1




UNITED STATES BANKRUPTCY COURT                                        SOUTHERN DISTRICT OF TEXAS


                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

          Division                   Houston              Main Case Number            20-33233
          Debtor            In Re:                Chesapeake Energy Corporation, et al.


This lawyer, who is admitted to the State Bar of                   Arizona                  :

                       Name                             Chad L. Schexnayder
                       Firm                             Jennings, Haug & Cunningham, LLP
                       Street                           2800 N. Central Avenue, Suite 1800
                 City & Zip Code                        Phoenix, AZ 85004
                    Telephone                           (602) 234-7800; cls@jhc.law
                                                        Arizona, No. 009832
             Licensed: State & Number

Seeks to appear as the attorney for this party:

      Liberty Mutual Insurance Company and Safeco Insurance Company of America


 Dated: 06/29/2020                        Signed: /s/ Chad L. Schexnayder




 COURT USE ONLY: The applicant’s state bar reports their status as:                              .



 Dated:                                   Signed:
                                                          Deputy Clerk



                                                     Order


                                     This lawyer is admitted pro hac vice.

Dated:
                                                           United States Bankruptcy Judge
